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                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA


  UNITED STATES OF AMERICA,
                                             Criminal Action
                Plaintiff,                   No. 1:17-cr-00182-RDM

          vs.                                Washington, DC
                                             October 5, 2017
  GEORGE PAPADOPOULOS,
                                             2:12 p.m.
              Defendant.
  ________________________/


         TRANSCRIPT OF ARRAIGNMENT/PLEA AGREEMENT HEARING
              BEFORE THE HONORABLE RANDOLPH D. MOSS
                UNITED STATES DISTRICT COURT JUDGE


  APPEARANCES

  For the Plaintiff:         AARON S.J. ZELINSKY
                             JEANNIE S. RHEE
                             ANDREW D. GOLDSTEIN
                               Department of Justice
                               Office of Special Counsel
                               950 Pennsylvania Avenue
                               Washington, DC 20004

  For the Defendant:         THOMAS M. BREEN
                             ROBERT W. STANLEY
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                            53 West Jackson Boulevard
                            Suite 1215
                            Chicago, IL 60604
  _____________________________________________________________

  Court Reporter:            JEFF M. HOOK, CSR, RPR
                               Official Court Reporter
                               U.S. District & Bankruptcy Courts
                               333 Constitution Avenue, NW
                               Washington, DC 20001



  Proceedings recorded by realtime stenographic shorthand;
  transcript produced by computer-aided transcription.
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1                            P R O C E E D I N G S

2                 DEPUTY CLERK:    Criminal action 17-182, the United

3      States of America versus George Papadopoulos.        Will counsel

4      please approach the podium and identify yourselves for the

5      record.

6                 MR. GOLDSTEIN:    Good afternoon, your Honor.

7      Andrew Goldstein and Aaron Zelinsky from the Special

8      Counsel's Office representing the United States.         And with

9      us at counsel table is FBI Special Agent Curtis Heidi.

10                THE COURT:    Good afternoon to all of you.

11                MR. STANLEY:    Good afternoon, your Honor.         Robert

12     Stanley and Tom Breen on behalf of Mr. Papadopoulos who's at

13     counsel table.

14                THE COURT:    Good afternoon to all three of you.

15                MR. BREEN:    Good afternoon, your Honor.

16                THE COURT:    First of all, we're proceeding today

17     under seal.    I assume that everyone in the courtroom here is

18     affiliated with one of the parties in the case, is that

19     correct?

20                MR. GOLDSTEIN:    That's correct, your Honor.

21                THE COURT:    So today's proceeding will be under

22     seal.   I want to come back to that issue at the end of

23     today's proceedings.     I wanted to just touch on a couple of

24     preliminary matters before we get to the arraignment,

25     principally just putting a couple of things on the record.
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1                 The first thing I wanted to note for the record

2      was that I did meet briefly earlier this week with

3      Mr. Zelinsky and Mr. Goldstein.      They indicated that that

4      was with the consent of Mr. Papadopoulos' counsel, and it

5      was for purposes of really discussing procedural issues and

6      the sealed nature of the proceeding.       I had a brief follow

7      up conversation with Mr. Zelinsky.       Nothing was disclosed to

8      me in the course of those conversations that has not

9      appeared in the papers that have been filed in this

10     proceeding.

11                If there's anything that either Mr. Goldstein or

12     Mr. Zelinsky wants to add by way of clarification, you're

13     welcome to do so.

14                MR. GOLDSTEIN:    Nothing, your Honor.

15                THE COURT:    Okay, thank you.    Let me simply for

16     purposes of the record ask Mr. Breen or Mr. Stanley if you

17     would confirm just for the record that that was with your

18     consent?

19                MR. STANLEY:    It was, your Honor.

20                THE COURT:    Okay, thank you.    The other thing I

21     wanted to just put on the record is that as some of you may

22     know, I was a partner at Wilmer, Cutler, Pickering, Hale &

23     Dorr before I became a judge.      Mr. Mueller and Ms. Rhee,

24     who's on the papers in this case, and some of the other

25     lawyers from that office were also previously lawyers at
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1      Wilmer, Cutler, Pickering, Hale & Dorr.       I know them, I've

2      worked with some of them, but that's true of many lawyers

3      who appear in front of me.      I of course did not work with

4      them on anything even remotely related to this case or these

5      proceedings.

6                 I wanted to make sure that you were all aware of

7      this fact.    It doesn't strike me as raising any concerns or

8      recusal issues.    I left the firm in December of 2014, so

9      it's been almost three years since I left the firm.            I have

10     no continuing connection to the firm.       I don't, for example,

11     receive any retirement payments from the firm.        Mr. Mueller

12     and Ms. Rhee and the others of course have all left the firm

13     as well.   So I don't see an issue here, but I did want to

14     put it on the record.

15                If anyone wanted to raise anything with me with

16     respect to that, I would welcome that.

17                MR. BREEN:    Your Honor, the firm hasn't been the

18     same since you left.     We have no objection to that.

19                THE COURT:    Well, thank you for that.     So why

20     don't we start with the arraignment then of

21     Mr. Papadopoulos.     If I could ask that you and your counsel

22     come to the podium.

23                DEPUTY CLERK:    May the record reflect that the

24     Defendant has received a copy of the information.         George

25     Papadopoulos, in criminal case 17-182 in which you are
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1      charged by an information on count one, false statements, do

2      you waive the formal reading of the information and how do

3      you wish to plea?

4                 MR. STANLEY:    We waive formal reading.

5                 THE DEFENDANT:    I plead guilty.

6                 THE COURT:    Okay, thank you.    So we'll now go

7      through a much longer process to confirm that that's the

8      plea that you really want to enter in this case.         Before we

9      do so, let me ask that the Deputy Clerk place

10     Mr. Papadopoulos under oath.

11                DEPUTY CLERK:    Please raise your right hand.      Do

12     you solemnly swear that you will well and truly answer all

13     questions propounded to you by the Court, so help you God?

14                THE DEFENDANT:    I do.

15                THE COURT:    So Mr. Papadopoulos, do you understand

16     that you're under oath, and if you don't answer the Court's

17     questions truthfully today that you could be prosecuted for

18     perjury or for making false statements?

19                THE DEFENDANT:    Yes.

20                THE COURT:    The purpose of today's hearing,

21     Mr. Papadopoulos, is for you to make an important decision:

22     A decision about whether you want to go to trial in the case

23     and put the Government to its burden of proof or whether you

24     would like to enter a plea of guilty.       Before you make such

25     a serious decision, I think we all want to make sure that
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1      you understand your rights, understand what you're pleading

2      to and the terms of the agreement.       So we're going to go

3      through all of that in some detail.

4                 If at any point during today's proceedings there's

5      anything that you feel as though you don't understand or

6      would like clarification on, you're welcome to take a break

7      and confer with your counsel.       You're welcome to ask me a

8      question at any point.     Our goal here is just to make sure

9      that when you make your decision at the end of today's

10     proceeding, you're making a knowing, informed and voluntary

11     decision, okay?

12                THE DEFENDANT:    Yes.

13                THE COURT:    So let me ask you to have a seat for a

14     moment.   I'm going to ask that the Government come up and

15     state the original charges against Mr. Papadopoulos, and

16     then indicate what, if any, charges will be dropped as a

17     condition or term of the plea.

18                MR. GOLDSTEIN:    Thank you, your Honor.      The

19     Defendant was charged by complaint with one count of a

20     violation of 18 U.S.C. 1001, false statements; and one count

21     of deletion or destruction of records under 18 U.S.C. 1519.

22     In this proceeding, the Defendant is only pleading guilty to

23     one count of false statements, 18 U.S.C. 1001.

24                THE COURT:    And what are the terms of the plea

25     agreement?
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1                 MR. GOLDSTEIN:    The terms of the plea agreement

2      are that the Defendant is pleading guilty, acknowledging the

3      statement of the offense and all of the conduct that is set

4      forth in the statement of the offense.       The Defendant is

5      waiving his right to appeal his sentence except under

6      limited circumstances.     And the Defendant is also waiving

7      venue to the extent that there's any challenge to venue in

8      this proceeding.

9                 And the Government in the agreement agrees to

10     bring to the Court's attention at sentencing the Defendant's

11     efforts to cooperate with the Government on the condition

12     that the Defendant continue to meet with and provide

13     information to the Government on request.

14                THE COURT:    Okay, thank you.    So Mr. Papadopoulos,

15     you and your counsel are welcome to come back up.

16                So Mr. Stanley, did Mr. Goldstein accurately state

17     the terms of the plea agreement?

18                MR. STANLEY:    He did, your Honor.

19                THE COURT:    And Mr. Papadopoulos, do you

20     understand that those are the terms of the agreement?

21                THE DEFENDANT:    Yes, I do, your Honor.

22                THE COURT:    How old are you?

23                THE DEFENDANT:    I'm 30 years old.

24                THE COURT:    And how far did you go in school?

25                THE DEFENDANT:    I have a Master's degree.
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1                 THE COURT:    Were you born in the United States?

2                 THE DEFENDANT:    Yes, Chicago.

3                 THE COURT:    And you're a U.S. citizen I assume?

4                 THE DEFENDANT:    Yes.

5                 THE COURT:    In the last 48 hours, have you taken

6      any alcohol, drugs or medicine that could affect your

7      ability to understand what you're doing by pleading guilty?

8                 THE DEFENDANT:    No, your Honor.

9                 THE COURT:    Have you ever received any treatment

10     for any type of mental illness or emotional disturbance?

11                THE DEFENDANT:    No, your Honor.

12                THE COURT:    Have you received a copy of the

13     information pending against you?      Those are the written

14     charges that you entered your plea to just a few moments

15     ago.   Have you received a copy of those?

16                THE DEFENDANT:    Yes, I have.

17                THE COURT:    And have you had a chance to read

18     those carefully?

19                THE DEFENDANT:    Yes, I have.

20                THE COURT:    And have you had a chance to confer

21     with your counsel about those?

22                THE DEFENDANT:    Yes, I have.

23                THE COURT:    Did you understand what's in those

24     charges?

25                THE DEFENDANT:    Yes.
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1                 THE COURT:    Are you satisfied with the services of

2      your lawyers in this case?

3                 THE DEFENDANT:    Yes, I am.

4                 THE COURT:    And have you had enough time to talk

5      with your lawyers about your case?

6                 THE DEFENDANT:    Yes, I have.

7                 THE COURT:    And have you had enough time to talk

8      with your lawyers about the plea offer and whether you

9      should accept it?

10                THE DEFENDANT:    Yes, I have.

11                THE COURT:    Mr. Papadopoulos, I want to explain to

12     you certain rights that you have in this matter.         Listen

13     carefully, and any questions you have, feel free to ask me

14     or feel free to take a moment to confer with your counsel.

15                First, do you waive any objection to venue in the

16     District of Columbia?

17                THE DEFENDANT:    Yes, I -- yes.

18                THE COURT:    So I'm going to sign -- do we have a

19     waiver for the actual form for that?

20                DEPUTY CLERK:    There's no waiver of venue, your

21     Honor, because it's part of the plea agreement.

22                THE COURT:    All right.   I will make a finding on

23     the record that Mr. Papadopoulos has waived venue or any

24     objection to venue in the District of Columbia.

25                Do you also understand that if the Government were
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1       to proceed against you, that you would have a right to

2       require that they proceed by grand jury indictment?        In

3       other words, that would mean that the Government would have

4       to convince 12 grand jurors out of at least 16, and at most

5       23, that there's probable cause that the crime that is

6       alleged against you was committed and that you committed

7       that crime?

8                  THE DEFENDANT:    Yes.

9                  THE COURT:   And do you understand that you're

10      giving up your right to put the Government to its burden of

11      convincing a grand jury that there's probable cause?

12                 THE DEFENDANT:    Yes.

13                 THE COURT:   So I think I have the waiver.      I have

14      a waiver of indictment which has been signed.        Do you have

15      in front of you, Mr. Papadopoulos, this waiver of

16      indictment?

17                 MR. STANLEY:    We do not, there was only one.

18                 THE COURT:   Let me just make sure that you've

19      taken a look at that.     I just want to make sure that's your

20      signature?

21                 THE DEFENDANT:    Yes, it is.

22                 THE COURT:   So I'm going to go ahead and sign that

23      document as well then.     Do you understand, Mr. Papadopoulos,

24      that you have a right to plead not guilty and have a trial

25      in this case?
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1                  THE DEFENDANT:    Yes, I do.

2                  THE COURT:   And if you plead not guilty, do you

3       understand that you would have a right to a jury trial?

4       That would mean that 12 citizens would sit in the jury box,

5       and they would decide your innocence or guilt based solely

6       on the evidence presented in the courtroom?

7                  THE DEFENDANT:    Yes, I do.

8                  THE COURT:   And do you understand that if you had

9       a trial, you'd have a right to be represented by your lawyer

10      at that trial and at every other stage of the proceeding?

11                 THE DEFENDANT:    Yes, I do.

12                 THE COURT:   And do you understand that at trial,

13      you'd have a right through your lawyer to confront and

14      cross-examine any witnesses against you?

15                 THE DEFENDANT:    Yes, I do.

16                 THE COURT:   And do you understand that at trial

17      you would have a right to present your own witnesses, and

18      you would have the right to require or to compel them to

19      come to court and to testify in your case?

20                 THE DEFENDANT:    Now I do, yes.

21                 THE COURT:   Do you have any questions about that?

22                 THE DEFENDANT:    No.

23                 THE COURT:   Do you understand that if there were a

24      trial, you'd have a right to testify and present evidence on

25      your own behalf but that you wouldn't have to do that; you
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1       wouldn't have to testify or present evidence?        And that's

2       because it's the Government that has the burden of proving

3       your guilt beyond a reasonable doubt?

4                  THE DEFENDANT:    Yes.

5                  THE COURT:   And do you understand that if you

6       decided not to testify in the case, that you could request

7       that I instruct the jury and I would instruct the jury that

8       the jury could not hold against you the fact that you were

9       not testifying?

10                 THE DEFENDANT:    Yes, now I do.

11                 THE COURT:   Do you understand that unless and

12      until I accept your guilty plea, you're presumed by the law

13      to be innocent because it's the Government's burden to prove

14      your guilt beyond a reasonable doubt; and that you cannot be

15      convicted at trial until the Government carries that burden?

16                 THE DEFENDANT:    Yes.

17                 THE COURT:   And do you understand that if you went

18      to trial and you were convicted, you'd have a right to

19      appeal your conviction to the Court of Appeals and to have

20      the assistance of a lawyer in preparing your appeal?

21                 THE DEFENDANT:    Yes.

22                 THE COURT:   And do you understand that by pleading

23      guilty, you're giving up your rights to appeal with certain

24      exceptions?   And I want to take a minute to go through the

25      exceptions.   The exceptions are that you can appeal your
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1       conviction if you believe that your guilty plea was somehow

2       unlawful or involuntary or there was some other fundamental

3       defect in the proceeding that was not waived by your guilty

4       plea.   If you're unable to pay the cost of appeal, you may

5       appeal what's referred to as in forma pauperis which means

6       without paying the fee.     If you appealed in forma pauperis,

7       the Clerk of the Court would prepare the notice of appeal

8       for you.

9                  In addition, under the terms of the plea

10      agreement, you're agreeing to waive your right to appeal

11      your sentence in the case except to the extent that I were

12      to impose a sentence that was above the statutory maximum or

13      guidelines range or if you assert that you received

14      ineffective assistance of counsel in which case you could

15      appeal.

16                 But as to all of this, you would be limited to

17      appealing just to those issues?

18                 THE DEFENDANT:    Yes.

19                 THE COURT:   And do you understand that you're also

20      agreeing to waive your right to bring what we refer to as a

21      collateral challenge?     And that's a separate motion or

22      action that is brought after you're sentenced in the case

23      that would challenge your conviction or your sentence.         And

24      under the terms of the agreement, you're waiving your right

25      to bring a collateral challenge except to the extent that
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1       such a motion or action is based on newly discovered

2       evidence or on a claim that you received ineffective

3       assistance of counsel?

4                  THE DEFENDANT:    Yes.

5                  THE COURT:   And do you also understand that you're

6       reserving your right to seek a reduction in your sentence if

7       the United States Sentencing Commission lowers the

8       applicable sentencing range at a later date; but that under

9       the terms of your agreement, you're agreeing to waive your

10      right to appeal any denial of such a motion?

11                 THE DEFENDANT:    Yes.

12                 THE COURT:   And finally, as part of the plea

13      agreement, you're also waiving your right to request records

14      from any department or agency of the United States

15      pertaining to the investigation or prosecution in this case.

16      And that would mean records that you might otherwise be able

17      to seek under FOIA or the Privacy Act?

18                 THE DEFENDANT:    Yes.

19                 THE COURT:   I have one question about this, and it

20      may be because the independent counsel in front of me today,

21      they haven't been confronted with this.       Our U.S. Attorney's

22      Office has been confronted with this recently.        The D.C.

23      Circuit several months ago decided a case called Price

24      versus the Department of Justice in which the Court held

25      that district courts should decline to enforce plaintiffs'
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1       plea agreements that waive their FOIA rights unless the

2       Government is able to articulate a legitimate criminal

3       justice interest for doing so.      In that case, the Court held

4       that the Government had failed to do so.

5                  I've had this come up in a number of cases.         At

6       times, the Government has simply agreed to drop that

7       provision from the plea agreement.      Otherwise, I think what

8       I would need is some showing that there's some particular

9       reason in this case why the waiver of FOIA rights serves a

10      criminal justice interest.

11                 MR. ZELINSKY:    Your Honor, the criminal justice

12      interest being vindicated here is there's a large scale

13      ongoing investigation of which this case is a small part.

14      FOIA matters related to Mr. Papadopoulos, particularly as

15      relates to his plea and as set forth in the statement of

16      facts, will necessarily involve potential disclosure of a

17      wide variety of information related to those ongoing

18      investigative matters.

19                 THE COURT:   Let me hear from Mr. Papadopoulos'

20      counsel.

21                 MR. BREEN:   If we can have just a moment, your

22      Honor.

23           (Brief pause in the proceedings)

24                 MR. STANLEY:    Your Honor, I would just add that

25      under FOIA, if Mr. Papadopoulos requested something and it
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1       was part of an ongoing investigation, the Government could

2       just simply deny it under FOIA I would assume.

3                  THE COURT:   I think that's right, although I do

4       think that I could understand why it might be a legitimate

5       law enforcement concern if they had an ongoing investigation

6       in which they were devoting a lot of resources and time to,

7       that they wouldn't have to necessarily go through the --

8       have to sort of anytime soon go through the process of doing

9       detailed declarations to a court to support the proposition

10      that in that particular case, that it would undermine the

11      process.

12                 I'm wondering if maybe the right way to handle

13      this under the present circumstances is if we might agree to

14      just time limit this in some way so that Mr. Papadopoulos is

15      not permanently barred from filing a FOIA request for

16      records that could relate to this, but also respects that

17      law enforcement issues have been articulated.        I don't know

18      what that time period would be, but perhaps we can just add

19      a number of months or years to the provision.

20                 MR. ZELINSKY:    I think that would be acceptable,

21      your Honor.   The other important factor in this case is that

22      in the process of his ongoing efforts to cooperate, the

23      Government has shared substantial information with the

24      Defendant that has provided a road map of sorts, if you

25      will, to information that might then be sought on FOIA.
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1                  And it will chill the Government's ability to

2       continue to have the Defendant cooperate if the information

3       that's being provided by the Defendant and the continued

4       efforts to jog his memory are then used to create a road map

5       to the ongoing investigation and the FOIA requests that

6       would ensue from that.

7                  THE COURT:   Mr. Stanley?

8                  MR. STANLEY:    I would just say that

9       Mr. Papadopoulos at this time has no intention of issuing

10      FOIA requests, and we are fine with putting a time limit on

11      this.

12                 THE COURT:   So why don't we do that.      What I would

13      suggest we do is under the circumstances, I think it's

14      appropriate to come up with a pretty generous window.          I'm

15      not asking the Government to be in a position in which it is

16      articulating today in a document that may -- when this

17      proceeding is unsealed, then represents a statement of when

18      the Government actually sees this investigation coming to a

19      close.

20                 MR. ZELINSKY:    Your Honor, perhaps we could put

21      for the length of the Special Counsel's investigation?

22                 THE COURT:   Why don't we do that.     Is that

23      acceptable?

24                 MR. STANLEY:    That's fine with us, your Honor.

25                 THE COURT:   So let me hand the plea agreement back
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1       to you.   If I can just ask that you pencil that in perhaps

2       and initial it.

3                   MR. ZELINSKY:    Your Honor, just to put on the

4       record, the information I was referring to earlier -- that

5       is, that the Government has shared with Mr. Papadopoulos, is

6       all information that Mr. Papadopoulos either created or

7       would have access to initially and was found as a result of

8       searches.    The Government was not in any way giving him

9       information that he might not at one point have seen or had

10      access to.    We're showing him things that he was unaware of

11      in an attempt to refresh his recollection.

12                  THE COURT:   Okay, I appreciate that clarification,

13      thank you.

14                  Mr. Papadopoulos, those are your initials?

15                  THE DEFENDANT:   Yes.

16                  THE COURT:   Okay, thank you.    Mr. Papadopoulos, on

17      the final page of this document, the plea agreement, am I

18      correct that that's your signature?

19                  THE DEFENDANT:   Yes, it is, your Honor.

20                  THE COURT:   Mr. Papadopoulos, going back to all

21      the rights that I just described to you that you have.         Do

22      you understand that if you plead guilty in this case, you're

23      giving up all those rights because there's not going to be a

24      trial in the case?

25                  THE DEFENDANT:   Yes, I do, your Honor.
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1                  THE COURT:   Mr. Papadopoulos, what I'm going to do

2       now is I'm going to ask that Mr. Goldstein or Mr. Zelinsky

3       come back up to the podium.     What I'm going to ask them to

4       do is to describe in detail what the Government submits it

5       believes it would be able to prove beyond a reasonable doubt

6       if this case were to go to trial.

7                  I'm going to ask that you listen very carefully to

8       what they say.    When they're done, I'm going to ask that you

9       come back up and I'm going to ask you whether everything

10      they've said is absolutely true or whether there's anything

11      that needs to be clarified, modified or was incorrect, okay?

12                 THE DEFENDANT:    Absolutely, yes.

13                 THE COURT:   Okay, thank you.     Mr. Goldstein?

14                 MR. GOLDSTEIN:    Thank you, your Honor.     A fuller

15      recitation of the offense conduct is set forth in the

16      statement of offense that's attached to the plea agreement

17      and that the Defendant signed.      But for the purposes of this

18      proceeding, the Government would be able to prove at trial

19      that the Defendant was interviewed by the FBI on

20      January 27th, 2017.     During that voluntary interview, the

21      agents with the FBI asked the Defendant a series of

22      questions that pertained to the FBI's ongoing investigation

23      into Russia's efforts to interfere with the 2016

24      presidential election; and whether there was any

25      coordination between the campaign of candidate Donald Trump
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1       and Russia's efforts to interfere in the election.

2                   In the course of that interview, the Defendant

3       made a series of deliberate false statements and deliberate

4       omissions that are including, but not limited to, the timing

5       of when he met certain individuals that the Defendant

6       understood had substantial connections to high-level Russian

7       government officials; and the extent and the nature of his

8       communication with those individuals and with certain

9       Russian nationals that he was communicating with during the

10      campaign.

11                  The Government would be able to prove this conduct

12      by, among other evidence, a record of the statement itself

13      which was recorded; e-mails; text messages; communications

14      via social media such as Facebook; Skype records; records of

15      internet searches; location data; and other evidence which

16      would show that the Defendant's statements that were made

17      during that January 27th interview were false.        And that he

18      knew that they were false at the time they were made, and

19      that there was a deliberate effort to provide false

20      information to the Government.

21                  THE COURT:   Okay, thank you.    Mr. Papadopoulos,

22      you're welcome to come back up with your counsel.

23                  Mr. Papadopoulos, is what Mr. Goldstein just

24      described completely accurate?

25                  THE DEFENDANT:   I believe so, yes.
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1                  THE COURT:   Anything that you think needs to be

2       modified or clarified with respect to what he said?

3                  THE DEFENDANT:    No.

4                  THE COURT:   And Mr. Stanley, do you concur in

5       that?

6                  MR. STANLEY:    I do, your Honor.

7                  THE COURT:   Mr. Stanley, if the Government were to

8       take its case to trial, do you concur that the Government

9       would be able to prove each of the necessary elements of the

10      offense beyond a reasonable doubt?

11                 MR. STANLEY:    Yes, your Honor.

12                 THE COURT:   Mr. Papadopoulos, do you have in front

13      of you the statement of offense?

14                 THE DEFENDANT:    Yes, I do, your Honor.

15                 THE COURT:   And did you read that document

16      carefully?

17                 THE DEFENDANT:    Yes, I did, your Honor.

18                 THE COURT:   Is everything in that document true?

19                 THE DEFENDANT:    Yes, it is, your Honor.

20                 THE COURT:   Is that your signature at the final

21      page, page 14?

22                 THE DEFENDANT:    Yes, it is, your Honor.

23                 THE COURT:   Is there anything in that document

24      that you think needs to be clarified or amended?

25                 THE DEFENDANT:    No, your Honor.
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1                   THE COURT:   So now I want to take a few moments

2       talking about the plea agreement and the potential sentence

3       in the case.

4                   Do you have a copy of the plea agreement in front

5       of you, Mr. Papadopoulos?

6                   THE DEFENDANT:   Yes, I do, your Honor.

7                   THE COURT:   Have you had a chance to read that

8       carefully?

9                   THE DEFENDANT:   Yes, I have, your Honor.

10                  THE COURT:   Do you understand what's in that

11      document?

12                  THE DEFENDANT:   Yes, I do.

13                  THE COURT:   Have you had a chance to talk in

14      detail with your lawyers about that document?

15                  THE DEFENDANT:   Yes, I have.

16                  THE COURT:   Have you had a chance to ask them any

17      questions you might have about what's in the plea agreement?

18                  THE DEFENDANT:   Yes, I have.

19                  THE COURT:   Do you understand that you are

20      agreeing to plead guilty to one count of making a false

21      statement to the Federal Bureau of Investigation in

22      violation of 18 U.S.C. section 1001?

23                  THE DEFENDANT:   Yes.

24                  THE COURT:   Do you understand that the count of

25      making a false statement to the FBI carries a maximum
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1       sentence of five years of imprisonment?

2                   THE DEFENDANT:   Yes, I do.

3                   THE COURT:   And do you understand that in addition

4       to your sentence of imprisonment, I may sentence you to a

5       maximum term of three years of supervised release?        And that

6       means that after you're released from prison, if you do

7       serve a period of time in prison, that it will be subject to

8       certain conditions; and if you violated those conditions you

9       could go back to prison?

10                  THE DEFENDANT:   Yes, I do.

11                  THE COURT:   Do you understand that in addition to

12      or in place of any sentence of incarceration I may impose on

13      this count, the count also carries a maximum fine of

14      $250,000?

15                  THE DEFENDANT:   Yes.

16                  THE COURT:   Do you also understand that you're

17      required to pay a special assessment of $100?

18                  THE DEFENDANT:   Yes.

19                  THE COURT:   Mr. Papadopoulos, Congress has created

20      something called the United States Sentencing Commission

21      which has issued a complex set of guidelines that are set

22      forth in this lengthy book right here.       The Court's not

23      bound by those guidelines, but I am required to consider

24      them in sentencing.      The Commission has set forth sentencing

25      ranges for specific offenses, and those ranges are all set
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1       forth in that book.

2                  While today we may have some idea what your

3       sentencing guidelines range would be, we're not going to

4       know that for sure until the Probation Office has an

5       opportunity to prepare its report; until your lawyer has an

6       opportunity to review it and comment on it; you've had an

7       opportunity through your lawyer to comment on it and raise

8       any objections; and counsel for the Government has had an

9       opportunity to do so.     And at the end of the day it's my

10      decision, I'm the one who will actually decide what the

11      correct sentencing guidelines range is.

12                 Do you understand that?

13                 THE DEFENDANT:    Yes, I do.

14                 THE COURT:   Today we can give you some idea of

15      what it may be, but I just want to make sure that you

16      understand that today it's our best understanding but that

17      it may change over time?

18                 THE DEFENDANT:    Yes, I do.

19                 THE COURT:   Do you also understand that the

20      guidelines are advisory and the Court could impose a

21      sentence outside the guidelines range based on considering

22      the factors that Congress has specified in 18 U.S.C. section

23      3553(a)?

24                 THE DEFENDANT:    Yes, I do.

25                 THE COURT:   But I can never sentence you to longer
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1       than the statutory maximum, do you understand that?

2                  THE DEFENDANT:    I understand.

3                  THE COURT:   Have you and your lawyer or lawyers

4       had a chance to talk about the guidelines and how they apply

5       in your case?

6                  THE DEFENDANT:    Yes.

7                  THE COURT:   Do you feel as though you understand

8       that?

9                  THE DEFENDANT:    Yes.

10                 THE COURT:   Mr. Stanley, do you feel as though

11      Mr. Papadopoulos understands how the guidelines apply?

12                 MR. STANLEY:    I do, your Honor.

13                 THE COURT:   So today I can only offer an estimate,

14      and I want to make sure you understand that.        Let's walk

15      through what our estimate is today.

16                 The parties have agreed that under the guidelines,

17      the base offense level is six.      The Government agrees that

18      you're entitled to a two-level reduction if you accept

19      responsibility for your actions, adhere to the plea

20      agreement and display acceptable conduct between now and

21      sentencing.   And you also acknowledge in the plea agreement

22      with the Government that the Government is not limited --

23      that the agreement does not limit the Government from

24      seeking a denial of the two-level adjustment or an

25      imposition of an adjustment for obstruction of justice
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1       should you withdraw your guilty plea after it is entered or

2       should it be determined by the Government that you either

3       engaged in conduct unknown to the Government at the time of

4       signing the agreement that constitutes obstruction of

5       justice or engaged in additional criminal conduct after

6       signing the agreement.

7                  Do you understand that?

8                  THE DEFENDANT:    I understand.

9                  THE COURT:   So based on the representations and

10      based on what I know today, although I don't know for sure,

11      I estimate that your applicable guidelines offense level

12      would be four.    It's also represented that you don't have

13      any previous criminal convictions which would put you in

14      criminal history category one.      Again, that's something we

15      won't know for sure until the Probation Office has had an

16      opportunity to do its investigation.       If it were to disclose

17      prior convictions, that would change this.

18                 But based on the assumption that you're in

19      criminal history category one and that your offense level is

20      four, that means that the guidelines recommendation for your

21      offense would be a term of imprisonment between zero to six

22      months.

23                 Do you understand that?

24                 THE DEFENDANT:    Yes, I do.

25                 THE COURT:   And the recommended fine under the
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1       guidelines would be between $500 and $9,500.        Do you

2       understand that?

3                  THE DEFENDANT:    Yes, I do.

4                  THE COURT:   Do you also understand that under the

5       plea agreement, you'll have the right to request that I not

6       impose a fine?

7                  THE DEFENDANT:    Now I do, yes.

8                  THE COURT:   Okay.   Do you understand that after

9       I've reviewed how the guidelines apply in your case, I could

10      conclude that a departure from the guidelines is appropriate

11      which could make the advisory guidelines sentence either

12      higher or lower?

13                 THE DEFENDANT:    Yes, I do.

14                 THE COURT:   And do you understand that under the

15      plea agreement, that both you and the Government have agreed

16      that you will not seek a departure from the guidelines

17      range?

18                 THE DEFENDANT:    Yes.

19                 THE COURT:   But that doesn't prevent me from doing

20      so, do you understand that?

21                 THE DEFENDANT:    Yes.

22                 THE COURT:   And do you understand that if I do

23      sentence you to a term of imprisonment, you'll serve the

24      full amount of time that I sentenced you to with a possible

25      reduction of good time of up to 54 days a year -- which
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1       actually would not be applicable in your case as I'm

2       thinking about this now, because the good time only applies

3       for sentences that are longer than a year.       So that would

4       only be the case if I were to vary from the guidelines and

5       sentence you to a term of longer than a year.        So let me

6       clarify this.

7                  Do you understand that if I sentence you to a term

8       of a year or less of imprisonment, that you will serve that

9       entire period?

10                 THE DEFENDANT:    Yes, I do.

11                 THE COURT:   And that if I sentence you to a term

12      outside the guidelines recommendation that is longer than a

13      year, then you would serve that entire period with a

14      possible reduction of up to 54 days for good time?

15                 THE DEFENDANT:    Yes, I do.

16                 THE COURT:   And do you understand that the offense

17      that you're pleading guilty to is a felony, and that if I

18      accept your plea and you're found guilty of that offense you

19      may be deprived of certain valuable civil rights such as the

20      right to vote; the right to hold public office; the right to

21      serve on a jury; and the right to possess any kind of

22      firearm or ammunition?

23                 THE DEFENDANT:    Yes, I do.

24                 THE COURT:   Has anyone, including your attorney,

25      the police, the prosecutor, the FBI, anyone from the Special
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1       Counsel's office, anyone you've come into contact with since

2       the time of your arrest promised or suggested to you that

3       merely because you're pleading guilty you're guaranteed a

4       lighter sentence in this case?

5                  THE DEFENDANT:    No, your Honor.

6                  THE COURT:   Has anyone forced, threatened or

7       coerced you in any way to enter into a guilty plea?

8                  THE DEFENDANT:    No, your Honor.

9                  THE COURT:   Do you understand that the agreement

10      reached in this case was the result of negotiations between

11      your lawyers and the lawyers for the Government?

12                 THE DEFENDANT:    Yes, I do, your Honor.

13                 THE COURT:   Has anyone made any promise to you in

14      connection with your guilty plea other than those that are

15      contained in the plea agreement or stated here in open

16      court?

17                 THE DEFENDANT:    No, your Honor.

18                 THE COURT:   Do you understand at this time I don't

19      know what sentence I will impose in this case because I

20      haven't heard from your lawyers, the lawyers for the

21      Government, from the Probation Office and from you if you

22      wanted to be heard?

23                 THE DEFENDANT:    Yes, your Honor.

24                 THE COURT:   Is there anything you don't understand

25      about today's proceeding, about your guilty plea, about the
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1       case against you that you'd like to understand before you

2       make a decision?

3                  THE DEFENDANT:    No, your Honor.

4                  THE COURT:   Anything you want to talk to your

5       lawyer about first?

6                  THE DEFENDANT:    I don't.

7                  THE COURT:   Is there anything further that the

8       Government suggests that the Court inquire about?

9                  MR. GOLDSTEIN:    No, your Honor.

10                 THE COURT:   Okay.   Anything further the defense

11      suggests the Court inquire about at this time?

12                 MR. STANLEY:    No, your Honor.

13                 THE COURT:   So Mr. Papadopoulos, are you ready to

14      make a decision about whether you want to enter a plea of

15      guilty or whether you wish to go to trial in this case?

16                 THE DEFENDANT:    Yes, your Honor.

17                 THE COURT:   And what's your decision?

18                 THE DEFENDANT:    I'd like to plead guilty, your

19      Honor.

20                 THE COURT:   And are you entering this plea of

21      guilty voluntarily and of your own free will because you are

22      guilty and for no other reason?

23                 THE DEFENDANT:    Yes, your Honor.

24                 THE COURT:   It is the finding of the Court in the

25      case of the United States versus George Papadopoulos,
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1       17-cr-182, that the Defendant is fully competent and capable

2       of entering an informed plea.      The Defendant is aware of the

3       nature of the charges and the consequences of the plea, and

4       that the plea of guilty is a knowing and voluntary plea

5       supported by an independent basis in fact containing each of

6       the essential elements of the offense.

7                  The plea is therefore accepted, and the Defendant

8       is adjudged guilty of count one of the information, making

9       false statements to the Federal Bureau of Investigation, in

10      violation of 18 U.S.C. section 1001.

11                 I'm going to sign the waiver of trial by jury.

12      With respect to Mr. Papadopoulos' status pending sentencing,

13      am I correct in understanding that the parties are in

14      agreement that Mr. Papadopoulos should remain on release

15      pending sentencing?

16                 MR. GOLDSTEIN:    That's correct, your Honor.       And

17      there is -- if we could be heard just about a modification

18      of the Defendant's bail conditions?

19                 THE COURT:   Okay, you're welcome to do so.         One

20      thing I will do is I'm going to direct that the Defendant

21      call the pretrial officer Tammy Everett immediately after

22      the hearing today also with respect to finalizing his

23      release pending sentencing.

24                 But I'm happy to hear from the parties with

25      respect to the terms of Mr. Papadopoulos' release.        You can
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1       have a seat just for a moment.

2                  MR. GOLDSTEIN:    At the Defendant's arrest and then

3       initial appearance in the Eastern District of Virginia, the

4       conditions that were set were surrender of his passport and

5       no new applications.    His travel was restricted to the

6       Northern District of Illinois, the Eastern District of

7       Virginia and the District of Columbia.

8                  And he was directed not to have any contact,

9       direct or indirect, with individuals relating to the

10      campaign or to any of the conduct set forth in the

11      complaint.   The Government provided a list of those

12      individuals to the Defendant and defense counsel.

13                 The only modification that we seek at this time is

14      for the Defendant to be permitted to travel anywhere within

15      the United States, but on the condition that he provide

16      advanced notice to and obtain consent from both the

17      Government and the Pretrial Services Office prior to any

18      travel.   And if he doesn't obtain such consent, then he can

19      raise it with the Court.     But without obtaining advanced

20      consent, he would not be able to travel outside of those

21      three original districts.

22                 THE COURT:   Okay.   Mr. Stanley?

23                 MR. STANLEY:    Yes, that's our agreement, your

24      Honor.

25                 THE COURT:   Okay.   So the Court will direct that
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1       those be the terms of Mr. Papadopoulos' release pending

2       sentencing.   I have in front of me a report from Pretrial

3       Services that doesn't include the list of the names of the

4       individuals where there was no contact.

5                  Is that something that actually should be in the

6       order that Pretrial Services would enter or is that

7       something that is going to be done separately just with an

8       understanding with the Office of the Special Counsel?          I

9       wasn't sure how it was done in Virginia.

10                 MR. GOLDSTEIN:    The list was not provided to

11      Pretrial Services in Virginia.      We are happy to provide a

12      list to the Court and to the Pretrial Services Office.         The

13      Defendant and counsel has the list and they know who those

14      individuals are.

15                 MR. BREEN:   That's correct, we've honored the

16      request that was entered earlier, and I don't anticipate any

17      contact with those individuals.      That list was given to the

18      Defendant in our presence.     We went through it and explained

19      it to him.    So I think we're monitoring it pretty well.

20                 THE COURT:   Well, it sounds to me as though the

21      parties understand what the terms are.       I don't think you

22      need to provide me with a copy of the list as long as the

23      parties understand who is on the list and there's not a

24      disagreement about that.     If that's something that's

25      certain, I don't think I need a copy of that.
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1                  MR. GOLDSTEIN:    Thank you, your Honor.

2                  THE COURT:   And then I'm going to sign an order

3       just providing for routine processing.       If there are any

4       issues that come up with respect to the terms or any

5       uncertainty with respect to the conditions of release

6       pending sentencing, the parties are welcome to just contact

7       me about that.    If you even wanted to do it telephonically,

8       we probably could do something along those lines if there's

9       any uncertainty that comes up.

10                 MR. GOLDSTEIN:    Thank you, your Honor.

11                 MR. BREEN:   Judge, there is one thing in the

12      pretrial report that indicates that Mr. Papadopoulos should

13      call in every week.     While I know that's not horribly

14      burdensome, he's in constant contact with our office.          I

15      really don't see that as a necessary condition.        Maybe once

16      a month would do it.

17                 THE COURT:   That is a standard condition I think.

18      What's the Government's position with respect to that?         It

19      does seem to me that it's not terribly burdensome.        I

20      understand it's not fun to do, but just to make a brief

21      telephone call to check in doesn't seem terribly burdensome

22      to me.

23                 MR. GOLDSTEIN:    Given that the Defendant's located

24      in Chicago and it's only required to be done telephonically

25      and it's a standard condition, the Government would prefer
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1       that that condition remain in place.

2                   THE COURT:   Why don't I leave that in place,

3       because it just doesn't strike me that it's terribly

4       burdensome to him to do that.

5                   So just for purposes of the record, here are the

6       additional conditions:     Mr. Papadopoulos shall report to

7       Pretrial Services weekly by phone as we just discussed.        He

8       shall verify his address with Pretrial Services immediately

9       or by the next business day; that he live at XXXXXXXXXXXXXXX

10      XXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXXX.

11      There's a telephone number that's provided here that I'm not

12      going to put on the record at this point because these

13      proceedings may be unsealed at some point.

14                  I don't know, Mr. Papadopoulos, if you'd prefer

15      that if these proceedings are unsealed at some point, if

16      your address remain confidential as well?

17                  THE DEFENDANT:   Yes, sir.

18                  THE COURT:   So I know this whole proceeding is

19      under seal, but let me ask that within the transcript that

20      Mr. Papadopoulos' address be sealed further so that if the

21      transcript is otherwise released that that would not be

22      revealed.

23                  Further, that as we've discussed, Mr. Papadopoulos

24      will provide Pretrial Services and the Office of Special

25      Counsel with notification of his travel before he does so,
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1       and that he only travel outside of the three jurisdictions

2       that we discussed with prior authorization.

3                  Is Mr. Papadopoulos' passport going to be returned

4       to him at this point?     Does he have the passport?

5                  MR. GOLDSTEIN:    He does not, it was surrendered at

6       the time of his arrest.     The Government would hold onto

7       that.

8                  THE COURT:   So Mr. Papadopoulos will not apply for

9       or possess a passport; surrender all passports that he may

10      have that are not already surrendered to Pretrial Services.

11      And that if the Government does return Mr. Papadopoulos'

12      passport to him, that he then turn it over to Pretrial

13      Services within 24 hours.

14                 Anything further with respect to the conditions of

15      release?

16                 MR. GOLDSTEIN:    No, your Honor.

17                 MR. STANLEY:    No, your Honor.

18                 THE COURT:   Okay.   So the only other thing that --

19      I guess two other things to discuss.       We should discuss

20      either a sentencing date or whether you just want to provide

21      me with a status report at some point or a check-in with

22      respect to sentencing if you're not ready to specify a date.

23      Why don't we start with that.

24                 MR. GOLDSTEIN:    The Government would ask that you

25      provide a control date of either 90 or 120 days from now
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1       where we can come back to the Court and see if that would be

2       the right time to then set a sentencing date.

3                  THE COURT:   Okay.   If it turns out that the

4       parties are in agreement before that date, that we can

5       actually use that date as a sentencing date.        You can

6       jointly notify the Courtroom Deputy and provide the

7       paperwork to me.    Well, I take that back.     We'll have to

8       order a presentence report, and we're not ready to order a

9       presentence report.     So let's just do a status check-in

10      then.

11                 What is the defense's position?

12                 MR. BREEN:   Judge, we have no objection to the

13      90-day status or whatever you want to call it.

14                 THE COURT:   So we'll have a status conference in

15      90 days.   Let's just pick a date while everyone is here.

16                 MR. BREEN:   Can that be by phone, your Honor?

17                 THE COURT:   Any objection to doing that by

18      telephone?

19                 MR. GOLDSTEIN:    No objection, your Honor.

20                 THE COURT:   Okay.   I assume that Mr. Papadopoulos

21      would be on the telephone for the call?

22                 MR. BREEN:   He will if you ask us, Judge.

23                 THE COURT:   I think he should be.     If we're doing

24      that by telephone, I'd like to make clear on the record that

25      he's waiving any right he might have to be personally
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1       present for such a proceeding.

2                  MR. BREEN:   That's correct.

3                  THE COURT:   Mr. Papadopoulos, do you understand

4       that you'd be waiving your right to be present in person and

5       would just participate by telephone?

6                  THE DEFENDANT:    Yes, I do, your Honor.

7                  THE COURT:   Any objection to that?

8                  THE DEFENDANT:    No.

9                  THE COURT:   That would be fine, we can do that by

10      telephone.    So I think we're talking about some time in mid

11      January.

12                 How about January 22nd at 11:00 a.m.?

13                 MR. GOLDSTEIN:    That's fine with the Government,

14      your Honor.

15                 MR. STANLEY:    That's fine, your Honor.

16                 THE COURT:   I was actually being considerate of

17      the people from Chicago.

18                 MR. BREEN:   I love the 11:00 o'clock start.

19                 THE COURT:   Well, I realize that you are on a

20      slightly different time than the rest of us.

21                 The other issue I wanted to bring up is I'm

22      sensitive to the fact that there are First Amendment

23      considerations with respect to this proceeding.        As

24      indicated in my order, I was persuaded that there was

25      compelling reason to proceed today under seal, to have these
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1       proceedings under seal and to have them remain under seal so

2       as not to interfere with an ongoing investigation.

3                  Going forward though, I want to make sure that

4       that process doesn't take any longer than necessary and that

5       the public does have access to these proceedings as soon as

6       it can consistent with not undermining an ongoing

7       investigation.

8                  So Mr. Goldstein, I don't know if you want to

9       speak to that.    I think my order, as was proposed by your

10      office, provides for I think a status check-in, just filing

11      in 30 days to let me know what the status is.        If I can just

12      ask you to maybe indicate for me what you anticipate by when

13      this may be made public and what the process would be for

14      doing that.

15                 MR. GOLDSTEIN:    We put 30 days in the proposed

16      order, your Honor, because we too are sensitive and

17      understand the First Amendment concerns that are at issue.

18      There are, as we put in the motion, certain aspects of the

19      ongoing investigation that we believe and we submitted to

20      the Court at this time give reason for sealing.        When those

21      reasons don't exist anymore -- and we believe that it will

22      be in the near term, that we will immediately alert the

23      Court and ask for the proceedings to be unsealed.

24                 If it is before 30 days, then we will alert the

25      Court at that time.    If it goes beyond 30 days on the time
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1       period as set forth in the order, we will come back and

2       explain to the Court why continued sealing is necessary.

3                  THE COURT:   Okay.   Anything from the defense on

4       that issue?

5                  MR. BREEN:   No, your Honor.     We have not objected

6       to this at all.    There is a benefit I feel to our client.

7       And I certainly understand the Special Prosecutor's position

8       on this matter considering the very expansive investigation

9       that's going forward.

10                 THE COURT:   Okay, so we'll leave it that way.

11      I'll expect a report in 30 days.      If there's a need to

12      revisit the issue at that point, we can do so then.

13                 Anything further from the Government today?

14                 MR. GOLDSTEIN:    No, your Honor.    Thank you.

15                 THE COURT:   Anything further from the defense?

16                 MR. BREEN:   No, your Honor.

17                 THE COURT:   Well, thank you all.

18           (Proceedings adjourned at 2:59 p.m.)

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